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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 20-cv-23223-BLOOM/Louis

 DRAGAN JANICIJEVIC, on his own
 behalf and on behalf of all other similarly
 situated crewmembers working aboard
 BAHAMAS PARADISE CRUISE
 LINE vessels,

         Plaintiffs,

 v.

 CLASSICA CRUISE OPERATOR, LTD.,
 PARADISE CRUISE LINE
 OPERATOR LTD. INC. a/k/a PARADISE
 CRUISE LINE OPERATOR LTD. d/b/a
 BAHAMAS PARADISE CRUISE LINE,
 BPCL MANAGEMENT, LLC d/b/a
 BAHAMAS PARADISE CRUISE LINE, LLC,

        Defendants.
 _______________________________________/

                                               ORDER

        THIS CAUSE is before the Court upon the Notice of Intervening Eleventh Circuit Ruling

 Regarding Proposed Incentive Awards and Agreement to Change Proposed Class Notice as a

 Result, ECF No. [19] (“Notice”), filed on October 13, 2020. The Notice requests that the Court

 consider certain interlineated language in resolving the pending Motion for Preliminary Approval

 of Class Action Settlement and Certification of Settlement Class, ECF No. [17], due to intervening

 precedent from the Court of Appeals for the Eleventh Circuit. The Court has carefully reviewed

 the Notice, the record in this case, and is otherwise fully advised.

        Accordingly, it is ORDERED AND ADJUDGED that the Motion for Preliminary

 Approval of Class Action Settlement and Certification of Settlement Class, ECF No. [17], is
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                                                             Case No. 20-cv-23223-BLOOM/Louis


 DENIED WITHOUT PREJUDICE. The parties may refile a corrected motion for preliminary

 approval that incorporates the relevant language set forth in the Notice.

        DONE AND ORDERED in Chambers at Miami, Florida, on October 13, 2020.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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